         Case 1:20-cv-11889-MLW Document 90 Filed 04/30/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

 DR. SHIVA AYYADURAI,                                )
                                                     )
                     Plaintiff,                      )
                                                     )
 v.                                                  )
                                                     )
 WILLIAM FRANCIS GALVIN, MICHELLE                    )   Civ. No. 20-cv-11889
 K. TASSINARI, DEBRA O’MALLEY, AMY                   )
 COHEN, NATIONAL ASSOCIATION OF                      )
 STATE ELECTION DIRECTORS, allegedly                 )
 in their individual capacities, and WILLIAM         )
 FRANCIS GALVIN, in his official capacity as         )
 Secretary of State for Massachusetts.               )
                                                     )
 Defendants.                                         )
                                                     )
                                                     )

                     RESPONSE REGARDING PLAINTIFF’S
             PROPOSED JOINDER AND SECOND AMENDED COMPLAINT

       As directed by the Court in its April 26, 2021 Order (Dkt No. 84), the National Association

of State Election Directors and Ms. Cohen (collectively, “NASED”) submit this response

regarding Plaintiff’s proposed filing of his Second Amended Complaint (“SAC”) (see Dkt No. 81).

       NASED continues to believes that allowing the Plaintiff’s proposed SAC is futile for the

reasons stated in its March 8, 2021 Response to Plaintiff’s Joinder Motion. (Dkt. No. 71.) As

NASED anticipated, Plaintiff’s now-filed SAC is, like his prior pleading, rife with conspiracy-

laden speculation, overblown rhetoric, and personal attack, but short on well-pled factual

allegations or coherent legal theories. Although NASED also believes that this case should be

dismissed with prejudice in its entirety for the reasons stated in the parties’ fully briefed motions

to dismiss, it recognizes that the allegations in the proposed SAC do not cure the deficiencies in

Plaintiff’s claims and, by effectively conceding that any sanctions Twitter imposed on his account



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         Case 1:20-cv-11889-MLW Document 90 Filed 04/30/21 Page 2 of 3




were the product of its own independent judgment, only underscore the flaws in his convoluted

theory of state action.

       Rather than delay the proceedings further by opposing amendment, NASED takes no

position on Plaintiff’s proposed SAC. NASED seeks only the shortest and most efficient path to

teeing up its grounds for dismissal, demonstrating the falsity of Plaintiff’s claims, and obtaining a

ruling. If the Court is inclined to permit amendment, NASED will move to dismiss the SAC. 1



Dated: April 30, 2021                            Respectfully submitted,

                                                 For The National Association of State Election
                                                 Directors and Amy Cohen

                                                 /s/ Nolan J. Mitchell
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        By submitting this response, Ms. Cohen does not waive her challenge to personal
jurisdiction as set forth in her individual Motion to Dismiss pursuant to Rule 12(b)(2), which is
fully-briefed and ripe for adjudication regardless of whether the Court permits Plaintiff’s proposed
amendment. (See Dkt Nos. 44, 47, 49; see also 53.) Nothing in the proposed SAC changes the
fact that Ms. Cohen is being sued personally for actions Plaintiff concedes she undertook solely in
her capacity as NASED’s Executive Director and for no personal benefit, or the frivolousness of
the RICO claim on which Plaintiff purports to ground jurisdiction.
                                                 2
         Case 1:20-cv-11889-MLW Document 90 Filed 04/30/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 30th day of April, 2021, a true and correct
copy of this document was served on plaintiff and all registered counsel of record via the Court’s
ECF system.
                                                            /s/Nolan J. Mitchell
                                                            Nolan J. Mitchell




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